                  Case 18-11535-CTG               Doc 5       Filed 07/03/18         Page 1 of 32




                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                  )                             Chapter 11
                                        )
                                        )                             Case No. 18-11494
EDUCATION MANAGEMENT II, LLC, et al.1 )
                                        )
                                        )
            Debtors.                    )
_______________________________________ )

              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
          OVERVIEW OF METHODOLOGY AND DISCLAIMERS REGARDING
                     DEBTORS’ SCHEDULES AND SOFAS

        Education Management II, LLC (the “Company”) and its affiliated debtors and debtors in
possession (collectively, “Debtors”) hereby file their respective Schedules of Assets and
Liabilities (“Schedules”) and Statements of Financial Affairs (“SOFAs”) in accordance with
section 521 of title 11 of the United States Code (“Bankruptcy Code”) and Rule 1007 of the
Federal Rules of Bankruptcy Procedure.

                                                    Background

       A.      Through organic growth and acquisitions, the Company and its affiliated entities
became among the largest providers of postsecondary education in North America, operating 110
primary locations across 32 U.S. states and in Canada. The Company and its affiliated entities’
schools were organized into four separate education systems: The Art Institutes; South
University; Argosy University; and Brown Mackie Colleges.

        B.     Each of the schools located in the United States was recognized by accreditation
agencies and by the U.S. Department of Education, enabling students to access federal student
loans, grants and other forms of public and private financial aid.

       C.       The Company and its affiliates experienced deteriorating results from operations
over the last several fiscal years due to the stagnant U.S. economy, the substantial decrease in the
availability of private lending sources to fund tuition and fees, the loss of federal and state
support for student financial aid, the impact of adverse publicity related to the for profit
education industry, student concerns about incurring debt to fund their education, the impact of
new regulations, and inability to increase tuition rates, among other factors. The number of
students attending the Company and its affiliated entities’ post-secondary institutions contracted



1
  Debtors anticipate that the trustee appointed in these chapter 7 cases will seek joint administration of all cases
under the Education Management II LLC case. As a result, Debtors are not separately listing each debtor and case
number on this caption. A listing of all debtors in these cases, and the last four digits of their respective federal tax
identification numbers, is attached as Exhibit A to these Global Notes.


#49291498 v1
                 Case 18-11535-CTG             Doc 5      Filed 07/03/18        Page 2 of 32




from 158,300 students to 112,400 students and net revenues decreased from $2,887.6 million to
$1,936.5 million in four years.

         D.     In November 2015, the Company entered into settlement agreements with (i) the
U.S. Department of Justice, 12 state attorneys general, the District of Columbia and relators
resolving four cases filed under federal and state False Claims Acts, and (ii) 39 state attorney
generals and the District of Columbia to end state-level investigations into recruiting practices
(the “2015 Settlements”). The 2015 Settlements required the Company to pay $95.5 million and
forgive approximately $100 million of loans to certain students who attended the Company’s
institutions between January 1, 2006 and December 31, 2014.

        E.    As a result of the 2015 Settlements and continued worsening operating results, the
Company undertook a substantial restructuring of its business, starting in late 2015 and early
2016, which included the teach-out2 of a substantial number of lower performing school
locations. The teach-outs included 19 of the 51 Art Institute locations, 22 of the 26 Brown
Mackie College locations and one Argosy University campus. The Company spent significant
sums to teach-out these school locations, including the payment of obligations that otherwise
would not have been funded, with the final school teach-outs completed in December 2017.

        F.     The Company also engaged an investment advisor to pursue the sale of the school
locations that were not being taught-out. The Company pursued a number of transaction
opportunities to maximize the value of its remaining assets and consummated the following sale
transactions:

                 (i)      On July 1, 2016, the Company sold The Connecting Link II, LLC (“The
                          Connecting Link”) to Triad Learning Systems, LLC and Taylor Study
                          Method, LLC for the payment to the Company of $1.7 million.

                 (ii)     In January 2017, the Company and/or its affiliates sold assets associated
                          with the Brown Mackie College campuses located in Bettendorf, Iowa;
                          Hopkinsville, Kentucky; and North Canton, Ohio to Ross Education, LLC
                          (“Ross Education”) and paid Ross Education $2.0 million in connection
                          with the sale. The purchase price was subject to a final net working capital
                          adjustment, which resulted in an additional amount of $0.1 million due to
                          Ross Education.

                 (iii)    On January 31, 2017, the Company sold equity interests in The Art
                          Institute of Vancouver to College LaSalle International Inc. and 1092880
                          B.C. LTD. (the “AiV Purchasers”) for the payment to the Company of
                          $16.0 million, with $2.0 million of the purchase price paid to an escrow
                          established for potential claims by the AiV Purchasers. The purchase price
                          was subject to a post-closing adjustment to the extent working capital at
                          The Art Institute of Vancouver on the closing date was greater than or less
                          than negative $2.3 million, which resulted in $0.5 million due to the AiV
                          Purchasers.
2
 By “teach out”, Debtors mean that they stopped accepting new students but worked with all existing students to
complete their degrees.


#49291498 v1
               Case 18-11535-CTG         Doc 5     Filed 07/03/18     Page 3 of 32




               (iv)    On January 18, 2017, the Company and certain of its subsidiaries entered
                       into an Asset Purchase Agreement (the “DCF Purchase Agreement”) with
                       Dream Center Foundation (“DCF”), a not for profit entity, and certain of
                       its newly formed subsidiaries (collectively with DCF, the “DCF Buyers”)
                       for the sale of substantially all of the Company’s remaining school
                       locations, specifically South University, Argosy University (including one
                       campus being taught-out), and all of the “core” Art Institutes school
                       locations (other than The Art Institute of Vancouver) which were not
                       being taught-out. The DCF Purchase Agreement was amended and
                       restated on February 24, 2017 and further amended on July 20, 2017 and
                       October 13, 2017. Under the final terms of the DCF Purchase Agreement:
                       (a) There were two closing dates due to a delay in the receipt of regulatory
                       approvals for institutions accredited by The Higher Learning Commission
                       (four locations) and Middle States Commission on Higher Education (two
                       locations including the fully online programs offered by The Art Institute
                       of Pittsburgh), with the first closing occurring on October 17, 2017 and the
                       second closing occurring on January 19, 2018.

       G.       Pursuant to a Transition Services Agreement executed in connection with the
DCF transaction, the DCF Buyers took possession and control of substantially all of the
Company and its’ affiliates books and records and agreed to provide certain administrative
services to the Company and its affiliates as they wound down business affairs.

         H.      Since late 2017, the Company and its remaining employees, with the assistance of
counsel and advisors and relying upon administrative services provided by the DCF Buyers, have
worked to, among other things: (i) complete audits required by the United States Department of
Education and state regulators and accrediting agencies; (ii) file tax returns; (iii) manage ongoing
litigation; (iv) communicate with creditors; (v) explore wind-down options; and (vi) prepare the
filing of these chapter 7 cases, including the Schedules and SOFAs.

       I.      Frank Jalufka, who served as CEO of Education Management Corporation and
President of each of its subsidiaries since December 2017, has signed each set of Schedules and
SOFAs. Nearly all of the source documents for the information contained in the Schedules and
SOFAs have been and continue to be in the possession of the DCF Buyers. The DCF Buyers
have provided information necessary for the completion of the Schedules and SOFAs as
requested by the Company under the Transition Services Agreement. In signing the Schedules
and SOFAs, Mr. Jalufka is attesting to the process used by Debtors’ remaining personnel and
professionals in gathering and presenting data in the Schedules and SOFAs. Mr. Jalufka has not
(and could not have) verified the completeness or accuracy of the financial data derived from
Debtors’ books and records in the possession of the DCF Buyers, including responses,
statements and representations concerning assets and liabilities of Debtors presented in the
Schedules and SOFAs.

       J.      Mr. Jalufka, Debtors and their respective agents, employees, attorneys and
advisors involved in the compilation and preparation of the Schedules and SOFAs (“Compilers”)
do not guarantee or warrant the accuracy or completeness of the data, responses, statements, and
representations that are provided in the Schedules and SOFAs, and none of the foregoing shall be


#49291498 v1
               Case 18-11535-CTG         Doc 5     Filed 07/03/18     Page 4 of 32




liable for any loss or injury arising out of or caused in whole or in part by the acts, errors, or
omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained in the
Schedules and SOFAs. While commercially reasonable efforts have been made to provide
accurate and complete information in the Schedules and Statements, inadvertent errors or
omissions may exist. The Compilers expressly do not undertake any obligation to update,
modify, revise, or re-categorize the information provided in the Schedules and SOFAs, or
to notify any third party should the information be updated, modified, revised, or re-
categorized. In no event will the Compilers be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising
from the disallowance of a potential claim against Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused,
even if t h e C o m p i l e r s are advised of the possibility of such damages.

       K.     In light of the foregoing, the Schedules and SOFAs are limited and must be read
in connection with, and informed by, the following Global Notes and Statement of Limitations,
Overview of Methodology and Disclaimers Regarding Debtors’ Schedules and SOFAs (“Global
Notes”), which are incorporated by reference in, and comprise an integral part of, the Schedules
and SOFAs.

                          Global Notes and Statement of Limitations

        1.     Joint Administration. Because of the overlapping issues and creditors in
Debtors’ chapter 7 cases, Debtors expect that the trustee appointed in these chapter 7 cases will
seek joint administration of Debtors’ chapter 7 cases. Notwithstanding the expected joint
administration of the chapter 7 cases for procedural purposes, each Debtor has filed its own
Schedules and SOFA. The Compilers have endeavored to present information in the Schedules
and SOFAs as of the Petition Date but has not been able to do so consistently throughout. The
Compilers have endeavored to note those circumstances where information is not as of the
Petition Date.

        2.       Global Notes Control. These Global Notes pertain to and comprise an integral
part of all of the Schedules and SOFAs and should be referenced in connection with any review
thereof. In the event that the Schedules and SOFAs differ from these Global Notes, the Global
Notes control.

        3.      Reservations and Limitations. Reasonable efforts have been made to prepare
and file complete and accurate Schedules and SOFAs; however, as noted above, inadvertent
errors or omissions may exist. Debtors reserve all rights to amend or supplement the Schedules
and SOFAs as is necessary and appropriate. Nothing contained in the Schedules and SOFAs
constitutes a waiver of any of Debtors’ rights or an admission of any kind with respect to the
chapter 7 cases or otherwise, including, but not limited to, any rights or claims of Debtors against
any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.


#49291498 v1
               Case 18-11535-CTG          Doc 5     Filed 07/03/18     Page 5 of 32




       4.      No Admission. Nothing contained in the Schedules and SOFAs is intended or
should be construed as an admission or stipulation of the validity of any claim against Debtors,
any assertion made therein or herein, or a waiver of Debtors’ rights to dispute any claim or assert
any cause of action or defense against any party.

        5.     Recharacterization. Notwithstanding that Debtors have made reasonable efforts
to correctly characterize, classify, categorize, or designate certain claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and SOFAs, Debtors
nonetheless may have improperly characterized, classified, categorized, or designated certain
items. Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
items reported in the Schedules and SOFAs at a later time as is necessary and appropriate.

        6.     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
Schedule E as “priority,” (iii) a claim on Schedule F as “unsecured,” or (iv) a contract on
Schedule G as “executory” or “unexpired” does not constitute an admission by Debtors of the
legal rights of the claimant, or a waiver of Debtors’ right to recharacterize or reclassify such
claim or contract.

        7.      Claims Description. Due to the circumstances surrounding the filing of the
chapter 7 cases, Debtors have been unable to verify the validity and amounts of many creditors’
claims, or the creditor claims reflected in the Debtors’ books do not include unprocessed claims,
either because processing of invoices was not completed or the Debtors had yet to receive
invoices for goods and services. As a result, Debtors have labeled many claims as disputed,
liquidated and/or contingent on the Schedules. Any failure to designate a claim on a given
Debtor’s Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the debtor that such amount is not “disputed,” “contingent,” or “unliquidated.”
Debtors reserve all rights to dispute, or assert offsets or defenses to, any claim (“Claim”)
reflected on their respective Schedules on any grounds, including, without limitation, liability or
classification, or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
“unliquidated” or object to the extent, validity, enforceability, priority, or avoidability of any
Claim. Moreover, listing a Claim does not constitute an admission of liability by a debtor against
which the Claim is listed or by any of Debtors. Debtors reserve all rights to amend their
Schedules and SOFAs as necessary and appropriate, including, but not limited to, with respect to
claim description and designation.

        8.     Estimates and Assumptions. The preparation of the Schedules and SOFAs
required Debtors to make reasonable estimates and assumptions with respect to the reported
amounts of assets and liabilities, the amount of contingent assets and contingent liabilities on the
date of the Schedules and SOFAs, and the reported amounts of revenues and expenses during the
applicable reporting periods. Actual results could differ from those estimates.

       9.      Causes of Action. Despite reasonable efforts, Debtors may not have identified
and/or set forth all of their causes of action (filed or potential) against third parties as assets in
their Schedules and SOFAs, including, without limitation, avoidance actions arising under
chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
bankruptcy laws to recover assets. Debtors reserve all rights with respect to any causes of action,



#49291498 v1
               Case 18-11535-CTG         Doc 5     Filed 07/03/18     Page 6 of 32




and nothing in these Global Notes or the Schedules and SOFAs should be construed as a waiver
of any such causes of action.

        10.     Insiders. Where the Schedules and Statements require information regarding
“insiders,” Debtors have included information with respect to individuals who served as officers
and directors (or the equivalent), as the case may be, during relevant time periods. Such
individuals no longer serve as an officer or director of Debtors. The listing of a party as an
insider for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. Information regarding the individuals listed as “insiders” in the Schedules and SOFAs
has been included for informational purposes only and such information may not be used for the
purposes of determining control of Debtors, the extent to which any individual exercised
management responsibilities or functions, corporate decision-making authority over Debtors, or
whether such individual could successfully argue that he or she is not an “insider” under
applicable law, including the Bankruptcy Code and federal securities laws, or with respect to any
theories of liability or any other purpose.

                          Overview of Methodology and Disclaimers

         1.     Basis of Presentation. For financial reporting purposes, Debtors and their
affiliates prepare consolidated financial statements that are audited annually. Unlike the
consolidated financial statements, these Schedules and SOFAs reflect the separate assets and
liabilities of each individual debtor. These Schedules and SOFAs do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles in
the United States (“GAAP”). The Schedules and SOFAs contain unaudited information that is
subject to further review and potential adjustment. The Schedules and SOFAs reflect the
Compilers’ reasonable efforts to report the assets and liabilities of each debtor on an
unconsolidated basis.

       2.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
or “undetermined” is not intended to reflect upon the materiality of such amount.

        3.     Totals. All totals that are included in the Schedules and SOFAs represent totals
of all known amounts. To the extent there are unknown or undetermined amounts, the actual
total may be different than the listed total.

        4.     Intercompany Transactions. As with most corporate enterprises of significant
size and complexity, Debtors operated a consolidated cash management system prior to the
Petition Date, which resulted in intercompany accounts payable and accounts receivable.
However, Debtors historically reported all financials on a consolidated basis. Intercompany
payables and receivables were historically “trued up” at the end of each fiscal year to account for
and allocate administrative and enterprise expenses to the proper party, but due to the
consolidated reporting structure and the several hundred million in intercompany and
intracompany transfers during any given year, that “true-up” could be materially misstated in any
given year. Debtors have not done a “true up” since the fiscal year ending June 30, 2017 and do
not have the resources to separate out intercompany obligations from the consolidated reporting


#49291498 v1
               Case 18-11535-CTG          Doc 5    Filed 07/03/18      Page 7 of 32




structure at this time. As a result, Debtors’ schedules do not list intercompany payables and
receivables. Regardless of the foregoing, Debtors do not believe that any intercompany
obligations have any realizable value.

        5.     Setoffs. Debtors routinely incur setoffs and net payments in the ordinary course of
business. Such setoffs and nettings may occur due to a variety of transactions or disputes,
including but not limited to, intercompany transactions, rebates, returns, refunds, negotiations, or
application of prepayments or deposits. It would be unduly burdensome on Debtors’ limited
resources to list each such potential transaction, and all such potential setoff claims cannot be
reasonably discerned at this time. Therefore, although such setoffs and other similar rights may
have been accounted for when scheduling certain amounts, these ordinary course setoffs are not
independently accounted for, and as such, are or may be excluded from the Schedules and
SOFAs. In addition, some amounts listed in the Schedules and SOFAs may have been affected
by setoffs or nettings by third parties of which Debtors were not aware. Debtors reserve all rights
to challenge any setoff and/or recoupment rights that may be asserted.

                                 Specific Schedules Disclosures

       1.      Schedule A/B, Question 3. Historically, Debtors and their affiliates maintained
more than four hundred bank accounts, the majority of which were zero balance deposit accounts
that were swept daily into concentration accounts. Debtors, with assistance from treasury
services of the DCF Buyers, have worked over the last several months to close all but a handful
of those accounts. Debtors believe that they have disclosed all remaining open accounts in
response to question 3 on the respective Schedules. However, certain accounts may still be open
for which Debtors lack knowledge.

       2.     Schedule A/B, Questions 6, 7 and 8. Debtors historically made prepayments in
the ordinary course of business for utilities, taxes, rent, and other ordinary course supplies.
Despite reasonable diligence, Debtors have been unable to identify any prepayments or deposits
that remain unapplied. Further, in the weeks leading up to the filing of these cases, Debtors
made several deposits and/or prepayments for professional services. Debtors have not disclosed
those prepayments or deposits in response to questions 6 through 8 on the Schedules because
those prepayments and deposits will be disclosed in the SOFAs or other Court pleadings.

        3.     Schedule A/B, Questions 10-12. As discussed above, Debtors have not trued up
intercompany accounts payable/receivable since the fiscal year ending June 30, 2017. As a
result, and because Debtors believe that any such intercompany accounts receivable have no
realizable value, Debtors have not listed any accounts receivable in response to questions 10
through 12 on the Schedules.

        4.      Schedule D – Creditors Holding Secured Claims. Debtors have not included
on Schedule D parties that may believe their claims are secured through setoff rights or inchoate
statutory lien rights. Except as otherwise agreed with a party asserting a secured claim or
pursuant to an order of the Bankruptcy Court, Debtors reserve the right to dispute or challenge
the validity, perfection or priority of any lien purported to be granted or perfected in any specific
asset to a creditor listed on Schedule D. The descriptions provided on Schedule D are intended
only as a summary. Reference to the applicable loan agreements and related documents is


#49291498 v1
               Case 18-11535-CTG          Doc 5    Filed 07/03/18      Page 8 of 32




necessary for a complete description of the collateral and the nature, extent and priority of any
liens. Nothing in any Schedule D shall be deemed a modification, interpretation, or waiver of
the terms of any such agreements.

        5.     Schedule E – Creditors Holding Unsecured Priority Claims. Debtors believe
that they have paid all employee claims and all claims of taxing authorities through December
2017. Debtors have attempted to schedule the claims of taxing authorities of which they are
aware, but there may be tax claims arising prior to the Petition Date which have not yet been
assessed or payable by Debtors.

        6.      Schedule F – Creditors Holding Unsecured Nonpriority Claims. As of the
time of filing of the Schedules and SOFAs, Debtors may not have received all invoices for
payables, expenses, and other liabilities that may have accrued prior to the Petition Date.
Accordingly, the information contained in Schedule F may be incomplete. The Debtors reserve
their rights, but undertake no obligations, to amend Schedule F if and as they receive invoices
and as more information is received. Further, Debtors have scheduled landlord claims in the
amounts allowable under 11 U.S.C. § 502(b)(6), calculated from the date that a respective debtor
surrendered possession of the leased premises.

        7.     Schedule G – Executory Contracts. While every effort has been made to ensure
the accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a
contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. Debtors hereby reserve all of their rights to
dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary.

                                   Specific SOFAs Disclosures

        1.     Questions 1 and 2. Debtors generally report income on a consolidated basis. As
a result, gross income reported in response to question 1 on the SOFAs may be materially
misstated.

       2.      Question 3. Prior to the Petition Date, Debtors maintained a centralized cash
management system through which the Company and certain other “paymaster” entities made
payments on behalf of subsidiaries. Consequently, all payments to creditors and insiders listed in
response to Questions 3b and 3c on each of the SOFAs likely reflect transfers made by the
Company or another paymaster entity for the benefit of a respective Debtor. Debtors have
attempted to tie each transfer to the respective Debtor on whose account it was made but do not
warrant or guarantee the accuracy of such listings.

       3.     Question 4. In response to question 4 on the SOFAs, Debtors restate and
incorporate by reference the disclaimer listed under paragraph 10 of the Global Notes and
Statement of Limitations above.

        4.    Question 5. On June 25, 2018, at the request of US Bank National Association
(the “Agent”) as Administrative Agent for the “Lenders” and Collateral Agent for the “Secured
Parties” (each as defined in a Credit and Guaranty Agreement and a Pledge and Security


#49291498 v1
               Case 18-11535-CTG          Doc 5    Filed 07/03/18      Page 9 of 32




Agreement, each dated as of January 5, 2015 and as each have been amended from time to time),
the Company, Education Management Corporation (“Parent”), Education Management Holdings
II, LLC (“Holdings”), and certain debtor and non-debtor subsidiaries of Holdings (together with
Company, Parent, and Holdings, the “Credit Parties”) entered into a Surrender of Collateral,
Consent to Partial Strict Foreclosure, and Release Agreement (UCC 9-620) (the “PSFA”),
pursuant to which the Credit Parties surrendered to Agent peaceful possession, right, title and
interest in and to certain “Surrendered Collateral”, defined and described in Exhibit 1 to the
PSFA. The Exhibit defining and describing the Surrendered Collateral is attached to the SOFAs
as schedule 2.5.

       5.      Question 7. Debtors have listed all legal actions and administrative proceedings
of which they have knowledge, but there may be other actions that have been filed against
Debtors of which Debtors have not, as of the Petition Date, received notice. Further, Debtors’
description of the nature or status of each proceeding may be incorrect or incomplete. Such
descriptions do not constitute an admission as to any facts in such proceedings or a waiver of
Debtors’ rights with respect thereto.

         6.    Question 18. See disclosure 1 in the Specific Schedules Disclosures section
above.

        7.      Question 26d. Debtors have not listed every person to whom they have issued
financial statements within two years of the Petition Date, as that list would number in the
hundreds if not thousands. Debtors routinely, in the ordinary course of their businesses,
provided financial and other statements to: (i) the United States Department of Education; (ii)
accrediting agencies; (iii) state attorneys general and regulatory agencies; (iv) lenders to and
investors in Debtors and affiliates; (v) auditors listed in response to questions 26a through c; (vi)
actual and potential purchasers of assets, business lines and campus locations; (vii) various credit
card processors; (viii) existing and prospective insurers; (ix) insurance brokers; (x) surety
underwriters and surety brokers; (xi) third party educational lenders and collection agencies; (xii)
landlords; (xiii) litigation counterparties; and (xiv) various vendors.

        8.      Questions 28 and 29. The individuals listed in response to questions 28 and 29
no longer serve as an officer or director of Debtors. The listing of a party as an officer or
director for purposes of the Schedules and SOFAs is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, right, claim, or defense, and all such rights, claims and defenses are hereby expressly
reserved. The individuals have been included for informational purposes only and such
information may not be used for the purposes of determining control of Debtors or the extent to
which any individual exercised management responsibilities or functions, corporate decision-
making authority over Debtors.




#49291498 v1
               Case 18-11535-CTG     Doc 5   Filed 07/03/18   Page 10 of 32




Dated: July 2, 2018
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#49291498 v1
                Case 18-11535-CTG             Doc 5    Filed 07/03/18     Page 11 of 32




                                               EXHIBIT A

                                    Debtor                                     FEIN

 1       Education Management II LLC                                    XX-XXXXXXX

 2       American Education Centers, Inc.                               XX-XXXXXXX
 3       Argosy Education Group, Inc.                                   XX-XXXXXXX
 4       Argosy University of California LLC                            XX-XXXXXXX
 5       Brown Mackie College - Tucson, Inc.                            86-026-4601
 6       Education Finance III LLC                                      XX-XXXXXXX
 7       Education Management Corporation                               XX-XXXXXXX
 8       Education Management Holdings II LLC                           XX-XXXXXXX
 9       Education Management LLC                                       XX-XXXXXXX
 10      Higher Education Services II LLC                               XX-XXXXXXX
 11      Miami International University of Art & Design, Inc.           XX-XXXXXXX
 12      South Education – Texas LLC                                    XX-XXXXXXX
 13      South University of Alabama, Inc.                              XX-XXXXXXX
 14      South University of Carolina, Inc.                             XX-XXXXXXX
 15      South University of Florida, Inc.                              XX-XXXXXXX
 16      South University of Michigan, LLC                              XX-XXXXXXX
 17      South University of North Carolina LLC                         XX-XXXXXXX
 18      South University of Ohio LLC                                   XX-XXXXXXX
 19      South University of Virginia, Inc.                             XX-XXXXXXX
 20      South University Research II LLC                               XX-XXXXXXX
 21      South University, LLC                                          XX-XXXXXXX
 22      Stautzenberger College Education Corporation                   XX-XXXXXXX
 23      TAIC-San Diego, Inc.                                           XX-XXXXXXX
 24      TAIC-San Francisco, Inc.                                       XX-XXXXXXX
 25      The Art Institutes International Minnesota, Inc.               XX-XXXXXXX
 26      The Art Institute of Atlanta, LLC                              XX-XXXXXXX
 27      The Art Institute of Austin, Inc.                              XX-XXXXXXX
 28      The Art Institute of California-Hollywood, Inc.                XX-XXXXXXX
 29      The Art Institute of California-Inland Empire, Inc.            XX-XXXXXXX



#49291498 v1
                Case 18-11535-CTG               Doc 5   Filed 07/03/18     Page 12 of 32




 30      The Art Institute of California - Los Angeles, Inc.             XX-XXXXXXX

 31      The Art Institute of California-Orange County, Inc.             XX-XXXXXXX

 32      The Art Institute of California-Sacramento, Inc.                XX-XXXXXXX
 33      The Art Institute of Charleston, Inc.                           XX-XXXXXXX
 34      The Art Institute of Charlotte, LLC                             XX-XXXXXXX
 35      The Art Institute of Colorado, Inc.                             XX-XXXXXXX
 36      The Art Institute of Dallas, Inc.                               XX-XXXXXXX
 37      The Art Institute of Fort Lauderdale, Inc.                      XX-XXXXXXX
 38      The Art Institute of Houston, Inc.                              XX-XXXXXXX
 39      The Art Institute of Indianapolis, LLC                          XX-XXXXXXX
 40      The Art Institute of Las Vegas, Inc.                            XX-XXXXXXX
 41      The Art Institute of Michigan, Inc.                             XX-XXXXXXX
 42      The Art Institute of Philadelphia LLC                           XX-XXXXXXX
 43      The Art Institute of Pittsburgh LLC                             XX-XXXXXXX
 44      The Art Institute of Portland, Inc.                             XX-XXXXXXX
 45      The Art Institute of Raleigh-Durham, Inc.                       XX-XXXXXXX

 46      The Art Institute of St. Louis, Inc.                            XX-XXXXXXX
 47      The Art Institute of San Antonio, Inc.                          XX-XXXXXXX
 48      The Art Institute of Seattle, Inc.                              XX-XXXXXXX
 49      The Art Institute of Tampa, Inc.                                XX-XXXXXXX
 50      The Art Institute of Tennessee-Nashville, Inc.                  XX-XXXXXXX
 51      The Art Institute of Virginia Beach LLC                         XX-XXXXXXX
 52      The Art Institute of Washington, Inc.                           XX-XXXXXXX
 53      The Art Institutes International II LLC                         XX-XXXXXXX
 54      The Illinois Institute of Art at Schaumburg, Inc.               XX-XXXXXXX
 55      The Illinois Institute of Art, Inc.                             XX-XXXXXXX
 56      The Institute of Post-Secondary Education, Inc.                 XX-XXXXXXX

 57      The New England Institute of Art, LLC                           XX-XXXXXXX

 58      The University of Sarasota, Inc.                                XX-XXXXXXX

 59      Western State University of Southern California                 XX-XXXXXXX




#49291498 v1
                               Case 18-11535-CTG                     Doc 5         Filed 07/03/18          Page 13 of 32


Fill in this information to identify the case:

             The Art Institute of Philadelphia LLC
Debtor name __________________________________________________________________
                                                                            Delaware
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   18-11535
                          _________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   /1

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           ✔ Operating a business
                                                                                               
                                                  7/1/2017                                                                               8,732,634.48
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date          Other _______________________     $________________


           For prior year:                        7/1/2016
                                           From ___________         to      6/30/2017
                                                                           ___________         ✔ Operating a business
                                                                                                                                      20,609,857.37
                                                                                                                                   $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________
           For the year before that:              7/1/2015
                                           From ___________         to      6/30/2016
                                                                           ___________         ✔ Operating a business
                                                                                               
                                                                                                                                       27,567,831.36
                                                                                                                                   $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     ✔ None
     

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $________________




           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
                                Case 18-11535-CTG                  Doc 5       Filed 07/03/18             Page 14 of 32

Debtor              The Art Institute of Philadelphia LLC
                   _______________________________________________________                                             18-11535
                                                                                                Case number (if known)_____________________________________
                   Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,25. (This amount may be
    adjusted on 4/01/1 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ✔ None
     
            Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________
              
     3.2.

            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,25. (This amount may be adjusted on 4/01/1 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).
     ✔ None
     
            Insider’s name and address                          Dates         Total amount or value         Reasons for payment or transfer
     4.1.

            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code


            Relationship to debtor
            __________________________________________


     4.2.

            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code



            Relationship to debtor

            __________________________________________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
                                 Case 18-11535-CTG                     Doc 5         Filed 07/03/18                Page 15 of 32

Debtor              The Art Institute of Philadelphia LLC
                    _______________________________________________________                                                      18-11535
                                                                                                          Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
            Creditor’s name and address                            Description of the property                                    Date               Value of property
     5.1.
             U.S. Bank National Association
            __________________________________________             See attached
                                                                   ___________________________________________                    ______________       13,000,000.00
                                                                                                                                                     $___________
            Creditor’s name
             214 N Tryon Street, 26th Floor
            __________________________________________             ___________________________________________
            Street
            __________________________________________             ___________________________________________
            Charlotte                     NC           28202
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________             ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________             ___________________________________________
            Street
            __________________________________________             ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     ✔ None
     
             Creditor’s name and address                              Description of the action creditor took                     Date action was       Amount
                                                                                                                                  taken

             __________________________________________             ___________________________________________                 _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                                   Nature of case                          Court or agency’s name and address                  Status of case

     7.1.
             See attached
             _________________________________            ______________________________         __________________________________________            Pending
                                                                                                 Name
                                                                                                                                                       On appeal
                                                                                                 __________________________________________
             Case number                                                                         Street                                                Concluded
                                                                                                 __________________________________________
             _________________________________                                                   __________________________________________
                                                                                                 City                   State             ZIP Code
              

             Case title                                                                            Court or agency’s name and address
                                                                                                                                                       Pending
     7.2.
             _________________________________            ______________________________         __________________________________________            On appeal
                                                                                                 Name
                                                                                                 __________________________________________
                                                                                                                                                       Concluded
             Case number
                                                                                                 Street
                                                                                                 __________________________________________
             _________________________________
                                                                                                 __________________________________________
                                                                                                 City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
                     Case 18-11535-CTG               Doc 5      Filed 07/03/18        Page 16 of 32


The Art Institute of Philadelphia, LLC                                              Case Number: 18-11535

           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 2:
           List Certain Transfers Made Before Filing Bankruptcy
5. Repossessions, foreclosures, and returns


                                               Description of the property



On June 25, 2018, at the request of US Bank National Association (the “Agent”) as Administrative Agent for the “Lenders”
and Collateral Agent for the “Secured Parties” (each as defined in a Credit and Guaranty Agreement and a Pledge and
Security Agreement, each dated as of January 5, 2015 and as each have been amended from time to time), Education
Management II, LLC (“Company”), Education Management Corporation (“Parent”), Education Management Holdings II, LLC
(“Holdings”), and certain debtor and non‐debtor subsidiaries of Holdings (together with Company, Parent, and Holdings, the
“Credit Parties”) entered into a Surrender of Collateral, Consent to Partial Strict Foreclosure, and Release Agreement (UCC 9‐
620) (the “PSFA”), pursuant to which the Credit Parties surrendered to Agent peaceful possession, right, title and interest in
and to certain “Surrendered Collateral”, defined and described in Exhibit 1 to the PSFA. The Exhibit defining and describing
the Surrendered Collateral is also attached hereto as schedule 2.5.
              Case 18-11535-CTG         Doc 5     Filed 07/03/18     Page 17 of 32




                                          Schedule 2.5

                                    Surrendered Collateral

       All of each Grantor’s right, title and interest in, to and under the following personal
property, in each case whether now owned or existing or hereafter acquired or arising and
wherever located (all of which, except as provided in Section 2.2 of the Security Agreement,
being collectively referred to as the “Surrendered Collateral”):

       (a) Accounts (as defined in the Security Agreement);
       (b) Chattel Paper (as defined in the Security Agreement);
       (c) “payment intangibles” as defined in Article 9 of the UCC;
       (d) any residual interest in (or with respect to the return of) cash or money market
       instruments, or any similar security, held in trust, as collateral, or as surety;
       (e) Instruments (as defined in the Security Agreement);
       (f) Investment Related Property (as defined in the Security Agreement);
       (g) Letter of Credit Rights (as defined in the Security Agreement);
       (h) Commercial Tort Claims (as defined in the Security Agreement);
       (i) cash;
       (j) to the extent not otherwise included above, all Collateral Support and Supporting
       Obligations relating to any of the foregoing (each as defined in the Security Agreement);
       (k) to the extent not otherwise included above, all Proceeds (as defined in the Security
       Agreement), products, accessions, rents and profits of or in respect of any of the
       foregoing and all other documents and instruments executed in connection therewith; and
       (l) the PNC Funds;
provided that, notwithstanding anything to the contrary set forth in this Agreement, the following
items shall not be “Surrendered Collateral” for the purposes of this Agreement: (i) any equity or
other ownership interest (including, but not limited to any limited liability company or
partnership interest) in any Credit Party or any affiliate or subsidiary of any Credit Party; and
(ii) any real property
                                         Case 18-11535-CTG                                       Doc 5             Filed 07/03/18                      Page 18 of 32


The Art Institute of Philadelphia, LLC                                                                                                               Case Number: 18-11535

        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 3:
        Legal Actions of Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits within 1 year before filing this case




         Case Title / Case Number                                              Case Number        Nature of Case                                     Court or agency's name and address          Status

   7.1   Goodwin, Erica and Jackson C. Goodwin, V                                160403524       Negligence and loss of consortium                   Philadelphia County Court of Common Pleas   Pending
         v.                                                                                                                                          Philadelphia City Hall
         Richard Y. Sin, as the Administrator of the Estate of Rebecca Kim,                                                                          Chestnut St
         deceased, Tyler Saxton, Andre Sommerbell, Valerie Ruiz, CP                                                                                  Philadelphia, PA 19107
         Development 1530, LLC, f/k/a Metro Development 1530, LLC,
         1530 Chestnut Street Associates LP, CP 1530 Fee GP, LLC, Cross
         Properties Realty, Latus Partners, LLC, The Art Institutes
         International, Inc. d/b/a The Art Institute of Philadelphia, and
         Education Management Corporation


   7.2   Sin, Richard, as Administrator of the Estate of Rebecca Kim,            151202604       Wrongful death and negligence                       Philadelphia County Court of Common Pleas   Pending
         Deceased                                                                                                                                    Philadelphia City Hall
         v.                                                                                                                                          Chestnut St
         Metro Development Company, The Art Institutes International                                                                                 Philadelphia, PA 19107
         Inc. dba The Art Institute of Philadelphia, Education Management
         Corp., 1530 Chestnut Street Associates LP, CP1530 Fee GP LLC,
         and Cross Properties Realty LLC


   7.3   Ariel Peterson                                                        530‐2017‐03973    Race discrimination and retaliation.                EEOC                                        Pending
         v.                                                                                                                                          William S. Moorhead Federal Building
         Education Management Corporation and The Art Institute of                                                                                   1000 Liberty Avenue, Suite 1112
         Philadelphia                                                                                                                                Pittsburgh, PA 15222


   7.4   Smith, Roxann                                                        BCP‐17‐05‐014835   Consumer complaint                                  AG‐Pennsylvania                             Pending
         v.                                                                                                                                          1001 State St #1009
         The Art Institute of Philadelphia                                                                                                           Erie, PA 16501


   7.5   Cross Properties and The Art Institute of Philadelphia (1530                            Real property lease dispute                                                                     Pending
         Chestnut Street)
                                  Case 18-11535-CTG                    Doc 5         Filed 07/03/18              Page 19 of 32

Debtor                The Art Institute of Philadelphia LLC
                     _______________________________________________________                                                  18-11535
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     ✔ None
     
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     ✔ None
     
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     ✔ None
     
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).

             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
                               Case 18-11535-CTG                  Doc 5        Filed 07/03/18              Page 20 of 32

Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                18-11535
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.
     ✔ None
     
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
           Address
                                                              ___________________________________________
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Email or website address
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________         ___________________________________________
                                                                                                                         ______________      $_________
           Address                                            ___________________________________________
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code

           Email or website address
           __________________________________________

           Who made the payment, if not debtor?

           __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     ✔ None
     
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________         ___________________________________________                 ______________      $_________

           Trustee                                            ___________________________________________
           __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
                               Case 18-11535-CTG                     Doc 5       Filed 07/03/18             Page 21 of 32

Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                18-11535
                                                                                                  Case number (if known)_____________________________________
                  Name




 13. Transfers not already listed on this statement
     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


      None

           Who received transfer?                                Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.   See paragraph F of Global Notes
           __________________________________________            ___________________________________________                ________________    $_________

                                                                 ___________________________________________
           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________




           Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.   __________________________________________            ___________________________________________

           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔ Does not apply
     
           Address                                                                                               Dates of occupancy


   14.1.   _______________________________________________________________________                               From       ____________       To   ____________
           Street
           _______________________________________________________________________
           _______________________________________________________________________
           City                                              State         ZIP Code


   14.2.   _______________________________________________________________________                               From       ____________       To   ____________
           Street
           _______________________________________________________________________
           _______________________________________________________________________
           City                                              State         ZIP Code


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
                                   Case 18-11535-CTG                 Doc 5         Filed 07/03/18               Page 22 of 32

Debtor             The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                   18-11535
                                                                                                     Case number (if known)_____________________________________
                  Name




 Part 8:          Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     ✔ No. Go to Part 9.
     
      Yes. Fill in the information below.
           Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.   ________________________________________           ___________________________________________________________                  ____________________
           Facility name
                                                              ____________________________________________________________
           ________________________________________
           Street                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
           ________________________________________
           City                      State      ZIP Code       ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

           Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.   ________________________________________           ___________________________________________________________                  ____________________
           Facility name
                                                              ___________________________________________________________
           ________________________________________
           Street                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
           ________________________________________
           City                      State      ZIP Code       ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:          Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

      No.
     ✔ Yes. State the nature of the information collected and retained. ___________________________________________________________________
                                                                        Student names, address and other information protected by FERPA
                  Does the debtor have a privacy policy about that information?
            
              No
             ✔ Yes
             
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     ✔ No. Go to Part 10.
     
     T Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                          No
                          Yes

Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
                               Case 18-11535-CTG                   Doc 5         Filed 07/03/18              Page 23 of 32

Debtor             The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                18-11535
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

      None
           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   See attached
           ______________________________________          XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
           Name
                                                                                            Savings
           ______________________________________
           Street                                                                           Money market
           ______________________________________
                                                                                            Brokerage
           ______________________________________
           City                  State       ZIP Code                                       Other______________

   18.2.   ______________________________________          XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
           Name
                                                                                            Savings
           ______________________________________
           Street                                                                           Money market
           ______________________________________
                                                                                            Brokerage
           ______________________________________
           City                  State       ZIP Code                                       Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     ✔ None
     
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________         __________________________________          __________________________________              No
           Name
                                                          __________________________________          __________________________________
                                                                                                                                                      Yes
           ______________________________________
           Street                                         __________________________________          __________________________________             
           ______________________________________
           ______________________________________          Address                                                                                   
           City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

     None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?

           See Education Management II LLC SOFA 10.20
                                                                                                                                                       No
           ______________________________________
           Name
                                                  __________________________________                  __________________________________
                                                                                                                                                       Yes
           ______________________________________
                                                          __________________________________          __________________________________              
           Street                                         __________________________________          __________________________________
           ______________________________________
           ______________________________________           Address                                                                                   
           City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                                    Case 18-11535-CTG          Doc 5       Filed 07/03/18             Page 24 of 32



The Art Institute of Philadelphia, LLC                                                                               Case Number: 18-11535

           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 10:
           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts



                                                                       Last 4 digits                                 Date account was         Last balance
           Financial insititution
                                         Address                        of account     Type of account               closed, sold, moved,   before closing or
           name
                                                                         number                                      or transferred             transfer


   18.1    Bank of America               101 Tryon Street                  5325        ZBA: Federal Funds Ed                    3/20/2018                $0.00
                                         Charlotte, NC 28255                           Payments

   18.2    Bank of America               101 Tryon Street                  4632        Federal Funds EFT                        3/16/2018           $15,000.00
                                         Charlotte, NC 28255

   18.3    Bank of America               101 Tryon Street                  8079        Federal Funds Perkins                    3/20/2018            $3,983.97
                                         Charlotte, NC 28255

   18.4    Bank of America               101 Tryon Street                  1624        Federal Funds Trust Account             11/30/2017            Unknown
                                         Charlotte, NC 28255

   18.5    Bank of America               101 Tryon Street                  6877        State Grant                              3/16/2018                $0.00
                                         Charlotte, NC 28255

   18.6    Bank of America               101 Tryon Street                  7487        ZBA: BOA Master Sig Card                 5/21/2018                $0.00
                                         Charlotte, NC 28255
                              Case 18-11535-CTG                         Doc 5            Filed 07/03/18           Page 25 of 32

Debtor           The Art Institute of Philadelphia LLC
                 _______________________________________________________                                                        18-11535
                                                                                                         Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     ✔ None
     
          Owner’s name and address                              Location of the property                     Description of the property                 Value

                                                                                                                                                         $_______
          ______________________________________                __________________________________           __________________________________
          Name
                                                                __________________________________           __________________________________
          ______________________________________
          Street                                                __________________________________           __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔ No
     
      Yes. Provide details below.
          Case title                                     Court or agency name and address                    Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________               __________________________________       Pending
          Case number                                    Name
                                                                                                             __________________________________
                                                                                                                                                      On appeal
          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                      Concluded
                                                                                                             __________________________________
                                                         _____________________________________                                                       
                                                         _____________________________________
                                                         City                    State        ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     ✔ No
     
      Yes. Provide details below.
         Site name and address                           Governmental unit name and address                  Environmental law, if known            Date of notice


          __________________________________             _____________________________________               __________________________________       __________
          Name                                           Name
                                                                                                             __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                              __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State        ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
                               Case 18-11535-CTG                  Doc 5           Filed 07/03/18           Page 26 of 32

Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                                18-11535
                                                                                                  Case number (if known)_____________________________________
                  Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     
      Yes. Provide details below.
           Site name and address                     Governmental unit name and address               Environmental law, if known                Date of notice


           __________________________________        ______________________________________           __________________________________           __________
           Name                                      Name
                                                                                                      __________________________________
           __________________________________        ______________________________________
           Street                                    Street                                           __________________________________
           __________________________________        ______________________________________
           __________________________________        ______________________________________
           City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:           Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

      None

           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
                                                      Ownership of building where AI Philadelphia                   2 ___
                                                                                                               EIN: ___ 3 – ___
                                                                                                                            2 ___
                                                                                                                                1 ___
                                                                                                                                  5 ___
                                                                                                                                      6 ___
                                                                                                                                        2 ___
                                                                                                                                            1 ___
                                                                                                                                              5
   25.1.   AIPH Limited Partnernship
           __________________________________         operated
                                                      _____________________________________________
           Name                                                                                                Dates business existed
            210 Sixth Avenue                          _____________________________________________
           __________________________________
           Street                                     _____________________________________________
            3rd Floor                                                                                                1/1/1981
           __________________________________                                                                  From _______         To 12/31/2016
                                                                                                                                        _______
           Pittsburgh        PA       15222
           __________________________________
           City                  State    ZIP Code




           Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                       Do not include Social Security number or ITIN.

           __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                                                                               Dates business existed
                                                      _____________________________________________
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______         To _______
           __________________________________
           City                  State    ZIP Code



           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

   25.3.   __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                      _____________________________________________            Dates business existed
           __________________________________
           Street                                     _____________________________________________
           __________________________________
           __________________________________                                                                  From _______         To _______
           City                  State    ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                                 Case 18-11535-CTG                Doc 5        Filed 07/03/18             Page 27 of 32

Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                               18-11535
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                                Dates of service


               Anyone in Accounting at Education Management II LLC                                            From _______       To _______
   26a.1.     __________________________________________________________________________________
              Name
               210 Sixth Avenue
              __________________________________________________________________________________
              Street
               3rd Floor
              __________________________________________________________________________________
               Pittsburgh                                   PA                  15222
              __________________________________________________________________________________
              City                                              State                 ZIP Code


              Name and address                                                                                Dates of service

                                                                                                                    10/2017
                                                                                                              From _______           2/2018
                                                                                                                                 To _______
   26a.2.      Anyone in Accounting at Dream Center Education Holdings
              __________________________________________________________________________________
              Name
               1400 Penn Avenue
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               Pittsburgh                                   PA                  15222
              __________________________________________________________________________________
              City                                              State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
             None
                     Name and address                                                                         Dates of service


                      See attached                                                                            From _______       To _______
         26b.1.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code


                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                     Name and address                                                                         If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.      Anyone in Accounting at Education Management II LLC
                     ______________________________________________________________________________           _________________________________________
                     Name
                      210 Sixth Avenue                                                                        _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                   _________________________________________
                     3rd Floor
                     ______________________________________________________________________________
                      Pittsburgh                                   PA                 15222
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                                  Case 18-11535-CTG                             Doc 5              Filed 07/03/18                   Page 28 of 32



The Art Institute of Philadelphia, LLC                                                                                                        Case Number: 18-11535

           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
           Details About the Debtor's Business or Connections to Any Business
26. Books, records, and financial statements
  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's boods of account and records or prepared a financial statement within 2 years before filing the case


                                                                                                                                                  Begin Date of
           Name                          Address                                      City                         State Zip                         Service            End Date of Service

 26b.1     Ernst & Young                 PGH National Bank‐Pitt 640382                Pittsburgh                   PA      15264‐0382                                               12/31/2017
                                         PO Box 640382

 26b.2     Price Waterhouse Coopers      PO Box 7247‐8001                             Philadelphia                 PA      19170‐8001                                                4/30/2017


 26b.3     RD Hoag & Associates          555 N Bell Avenue                            Carnegie                     PA      15106                                                         4/2017
                                   Case 18-11535-CTG                  Doc 5      Filed 07/03/18                 Page 29 of 32

Debtor               The Art Institute of Philadelphia LLC
                     _______________________________________________________                                               18-11535
                                                                                                    Case number (if known)_____________________________________
                     Name




                       Name and address                                                                           If any books of account and records are
                                                                                                                  unavailable, explain why


           26c.2.       Anyone in Accounting at Dream Center Education Holdings
                       ______________________________________________________________________________             _________________________________________
                       Name
                        1400 Penn Avenue                                                                          _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                     _________________________________________
                       ______________________________________________________________________________
                        Pittsburgh                                   PA                  15222
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

               None
                       Name and address


           26d.1.      See Global Notes
                       ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
   No
  ✔ Yes. Give the details about the two most recent inventories.
 


               Name of the person who supervised the taking of the inventory                        Date of        The dollar amount and basis (cost, market, or
                                                                                                    inventory      other basis) of each inventory

               Jackson, Richard E. (Fixed Asset Inventory)
              ______________________________________________________________________                5/2016
                                                                                                   _______               5,241,209.46
                                                                                                                  $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Jesse Smith, Accounting Manager
               ______________________________________________________________________
              Name
              615 McMichael Rd.
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              Pittsburgh                                        PA            15205
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
                               Case 18-11535-CTG                  Doc 5        Filed 07/03/18             Page 30 of 32

Debtor            The Art Institute of Philadelphia LLC
                  _______________________________________________________                                             18-11535
                                                                                               Case number (if known)_____________________________________
                  Name




           Name of the person who supervised the taking of the inventory                      Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory
           School Personnel (Store Supply Inventory)
           ______________________________________________________________________              1/2018
                                                                                              _______                 47,976.62
                                                                                                            $___________________

           Name and address of the person who has possession of inventory records


   27.2.    Samuel Groves, Accounting Supervisor
           ______________________________________________________________________
           Name
            615 McMichael Rd.
           ______________________________________________________________________
           Street
           ______________________________________________________________________
            Pittsburgh                                       PA           15205
           ______________________________________________________________________
           City                                                    State          ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                                Address                                               Position and nature of any             % of interest, if any
                                                                                                     interest
           Frank W. Jalufka
           ____________________________        22112 Verbena Pkwy, Spicewood, TX 78669
                                               _____________________________________________         President, Treasurer, BOD
                                                                                                     ____________________________            _______________
           Donn Patton
           ____________________________        242 Maple Ridge Dr, Canonsburg, PA 15317
                                               _____________________________________________         Secretary
                                                                                                     ____________________________            _______________
           Scott Syglowski                     2335 Saddle Dr, Allison Park, PA 15101                Vice President of Taxes
           ____________________________        _____________________________________________         ____________________________            _______________
           The Art Institutes                  210 Sixth Ave, 3rd Fl, Pittsburgh, PA 15222
           International II LLC
           ____________________________        _____________________________________________
                                                                                                        Owner
                                                                                                     ____________________________                 100 %
                                                                                                                                             _______________

           ____________________________        _____________________________________________         ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
   No
  ✔ Yes. Identify below.
 
           Name                                Address                                                Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            See attached
           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  ✔ No
  
  Yes. Identify below.
           Name and address of recipient                                             Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.   ______________________________________________________________             _________________________           _____________       ____________
           Name
           ______________________________________________________________
           Street                                                                                                        _____________
           ______________________________________________________________
           ______________________________________________________________                                                _____________
           City                                     State          ZIP Code

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
                               Case 18-11535-CTG                   Doc 5          Filed 07/03/18               Page 31 of 32



The Art Institute of Philadelphia, LLC                                                                         Case Number: 18-11535
           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
           Details About the Debtor's Business or Connections to Any Business
29. Within 1 year belore the filing of the case, officers, directors, managing members, general partners, members in control of the debtor, or
    shareholders in contol of the debtor who no longer hold these positions


                                                                                                                                Period During Which
                                                                                                                Nature of Any
           Name                      Address                          Position                                                  Position Was Held
                                                                                                                  Interest
                                                                                                                                From ‐ To

  29.1     Robert Kane              4 Baltusrol Terrace               President                                                 Through December 31, 2017
                                    Moorestown, NJ 08057


  29.2     Frank W. Jalufka         22112 Verbena Parkway             Senior Vice President, Chief Financial                    Through December 31, 2017
                                    Spicewood, TX 78669‐6305          Officer, and Treasurer


  29.3     J. Devitt Kramer         151 Laurel Oak Drive              Secretary                                                 Through December 31, 2017
                                    Sewickley, PA 15143‐9386


  29.4     Carol Brunner            8855 Lincoln Boulevard            Associate Vice President, Manager ‐                       Through December 31, 2017
                                    Pittsburgh, PA 15237‐4486         Transaction and Property Tax,
                                                                      Unclaimed Property

  29.5     Susan Minahan            210 Sixth Avenue, 3rd Floor       Assistant Secretary                                       Through December 31, 2017
                                    Pittsburgh, PA 15222


  29.6     Donn Patton              242 Maple Ridge Drive             Vice President, Corporate Real Estate                     Through December 31, 2017
                                    Canonsburg, PA 15317              and Procurement
                                  Case 18-11535-CTG                   Doc 5       Filed 07/03/18            Page 32 of 32

Debtor               The Art Institute of Philadelphia LLC
                    _______________________________________________________                                               18-11535
                                                                                                   Case number (if known)_____________________________________
                    Name




             Name and address of recipient
                                                                                           __________________________     _____________       ______________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________
             ______________________________________________________________
             Street                                                                                                       _____________
             ______________________________________________________________
             ______________________________________________________________                                               _____________
             City                                           State      ZIP Code


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      No
     ✔ Yes. Identify below.
     
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation
             Education Management Corporation
             ______________________________________________________________                                   2 ___
                                                                                                        EIN: ___ 5 – ___
                                                                                                                     1 ___
                                                                                                                         1 ___
                                                                                                                           1 ___
                                                                                                                               9 ___
                                                                                                                                 5 ___
                                                                                                                                     7 ___
                                                                                                                                       1



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     
      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:             Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on         06/29/2018
                             _________________
                              MM / DD / YYYY



         8   /s/ Frank W. Jalufka
            ___________________________________________________________                                Frank W. Jalufka
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                 President
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         ✔ Yes
         



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
